DocketCase:
      Entries4:13-cv-00775-CAS
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                 I       1322-AC03955              -   DENNIS M BOEHLE V TORRES CREDIT SERVICES (E-CASE)1
         Case            Parties    &‘   Docket    Charges, Judgments            Service       Filings      Scheduled                 Civil    Garnishmentsl
        Header           Atlosneys       Enfries      & Sentences               lnforrnatkrn     Due      Hearings t Trials        Judgments     Executrnn

                                             This information is provided as a service and is not considered an officia’ court record.
                                                                Sort Date Entries:          0 Descending                     Display Options: All Entries
                                                                                           Ascending

03/25/2013                 JudgelClerk Note   -



                           SUMMONS NOT ISSUED FOR SPECIAL DUE TO SPECIAL PROCESS SERVER NOT ON AUTHORIZED LIST
                           AND NOT SIGNED BY JUDGE.
                           Summons Issued-Associate
                           Document ID: 13-ADSM-3636, for TORRES CREDIT SERVICE.

03119/2013                 Hearing Scheduled
                              Scheduled For: 04/24/2013; 9:30AM; CHRISTOPHER EDWARD MCGRAUGH; City of St. Louis
                           Pet Filed in Associate Ct
                           Judge Assigned
 Case.net Version 5,13.2.2                                                   Return to Top of Page                                              Released 12/14/2012




                                                                                                                                                    EXHIBIT A
https ://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                               4/22/2013
                                                                                  _________________________________________
                                                                   _______________________
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                 IN    THE 22ND       JUDICIAL CIRCUIT COURT OF CITY OF ST LOUIS, MISSOURI
  Judge or Division:                                                    Case Number: 1322-AC03955
  CHRISTOPHER EDWARD MCGRAUGH
  Plaintiff/Petitioner:                                                 Plaintiff’ s/Petitioner’s Attorney/Address:
  DENNIS M BOEHLE                                                       RICHARD ANTHONY VOYTAS Jr.
                                                                        I North Taylor
                                                                 vs.    StLouis,MO 63108
  Defendant/Respondent:                                                 Date, Time and Location of Court Appearance:
  TORRES CREDIT SERVICE                                                 24-APR-.2013, 09:30 AM
  Nature of Suit:                                                       Division 27
  AC Other Tort                                                         CiVIL COURTS BUILDING
                                                                        10 N TUCKER BLVD
                                                                        SAINT LOUIS, MO 63101                                             (Date File Stamp)
                                                            Associate Division Summons
    The State of Missouri to: TORRES CREDIT SERVICE
                                      Atlas:
  27 PAiR VIEW STREET                                                                                       CUMBERLAND,COUNTY PA.
  C(O DAVID BUCHER RAGT
  CAR.USE,PA 17013
                                        You are summoned to appear before this court on the date, time, and location above to answer the attached petition.
                                   If you fail to do so, judgment by default will be taken against you for the relief de,nanded in the petition. You may be
          COURTSEAL OF
                                   permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have any questions regarding
                                   responsive pleadings in this case, you should consult an attorney.
                                        If you have a disability requiring special assistance for your court appearance, please contact the court at least 48
                                   hours in advance of scheduled hearing.


      Cl77 OFSVLOUIS                           March 25,2013
                                                          Date                                         M. Jane Schweitzer
                                                                                                        Circuit Clerk
                                   Further Information:
                                                                       Sheriff’s or Server’s Return
    Note to serving officer: Service must not be made less than ten days nor more than thirty days from the date the Defendant/Respondent is to
                                appear in court.
      I certify that I have served the above summons by: (check one)
      D delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      [] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                      a person of the Defendant’s/Respondent’s family over the age of 15 years.
           (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                        (name)                                                           (title).
            other
     Served at                                                                                                                                      (address)
     in                                          (County/City of St. Louis), MO. on                               (date) at                          (time).

                        Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                      Must be sworn before a notary public if not served by an authorized officer:
                                      Subscribed and sworn to before inc on                                             (date).
              (Seal)
                                      My commission expires:
                                                                                 Date                                         Notary Public
      Sheriff’s Fees, if applicable
      Summons
                        $_______________




      NonEst            $__________




     Mileage                          (.miles @
                        $________________
                                                                   per mile)
                                                                 $.______



     Total          S_______________
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of suits,
     see Supreme Court Rule 54.




OSCA (7-99) SM2O (ADSM) For Court Use Only: Document IDII 13-ADSM-3636                      1 of 1                                                  517.041 RSMo
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                        IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                  STATE OF MISSOURI
                                                                                        .




                                  ASSOC1ATE DIViSION                                            9 2013
 DENNIS M. BOEHLE                                    )
         Plaintiff,
 v.                                                  )       CASE NO.

 TORRES CREDIT SERVICES                              )
                                                                    132AC 0
                                                     )       DIVISION
 Serve at:                                           )
 David Bucher or Registered Agent                    )
 27 Fairview Street                                  )
 Carlisle, PA 17013                                  )
                                                     )
        Defendant.                                   )      JURY TRIAL DEMANDED

                                  PETITION FOR DAMAGES

        COMES NOW, Plaintiff, Dennis M. Boehie (“Plaintiff”), and for his Petition for

Damages states as follows:

                                       INTRODUCTION

        1.      This is an action for statutory and actual damages brought by an individual

consumer for violations of the Fair Debt Collection Practices Act, 15 U.S.C.     §   1692 et
seq. (“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive

and unfair practices.

       2.       Plaintiff demands a trial by jury on all issues so triable.

                                JURISDICTION AND VENUE

       3.       This Court has jurisdiction of the FDCPA claims under 15 U.S.C.             §
1692k(d).     Venue is appropriate in this Court because Defendant directed its illicit

conduct at Plaintiff in St. Louis City, Missouri.



                                                1
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                                          PARTIES

        4.      Plaintiff is a natural person currently residing in St. Louis City, Missouri,

 Plaintiff is a “consumer” within the meaning of the FDCPA. The alleged debt Plaintiff

 owes arises out of consumer, family, and household transactions.               To the best of

 Plaintiff’s knowledge, the alleged debt arises out of home utility services.

        5.      Defendant Torres Credit Services (“Defendant”) is a foreign corporation

with its princIpal place of business in Carlisle, Pennsylvania. The principal business

purpose of Defendant is the collection of debts in Missouri and nationwide, and

Defendant regularly attempts to collect debts alleged to be due another.

        6.      Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant is a “debt collector” as defined by the FDCPA. 15          usc
   1692a(6).

                                           FACTS

        7.      Defendant’s collection activity of which Plaintiff complains occurred within

the previous twelve (12) months, and Defendant’s efforts continue to the time of this

Petition.

        8.      Defendants’ collection efforts consisted of a negative entry on Plaintiff’s

credit report and a telephone conversation with Plaintiff. Plaintiff has never received

any written correspondence from Defendant as of the date of this Petition.

        9.     In March of 2013, Plaintiff noticed that Defendant placed a negative entry

on Plaintiff’s credit report.




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        10.       Plaintiff never received any written communication from Defendant about

 the alleged debt and thus had no idea who Defendant was or why it made a negative

 entry on his credit report.

        11.       Upon discovery of Defendant’s negative entry, Plaintiff immediately

 contacted Defendant to obtain more information about the alleged debt and credit

 reporting.

        12.       During Plaintiff’s phone call with Defendant, Defendant conceded that it

 had been sending its collection notices to an address at which Plaintiff had not lived for

 several years.

        13.    To the best of Plaintiff’s knowledge, the debt was far in excess of any

amount he ever owed the utility company while he was staying at the address

Defendant had on file and Plaintiff therefore intended to dispute the debt.

       14.     Defendant’s tone during the phone call was insulting, short-tempered, and

dismissive of Plaintiff.

       15.     Upon information and belief, Defendant received Plaintiff’s collection

notices as returned mail and knew, or had reason to know, that Plaintiff was not at the

address that Defendant used.

       16.     Specifically, Plaintiff’s valid address was readily available via the very

same credit reporting agencies to which Defendant reported Plaintiffs debt.

       17.     During the phone call with Defendant, Plaintiff attempted to give his

correct address during; however, Defendant refused to accept the new address or send

a new letter and instead demanded payment of the alleged debt as Plaintiff’s only

possible course of action.



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            18.   Further, during the phone call with Plaintiff, Defendant acted in a

 harassing and abusive manner and angrily hung up on Plaintiff while he was merely

 trying to get a collection notice about the alleged debt so he could dispute it.

            19.   Because Defendant had not sent any letters to Plaintiff’s proper address

 and thus failed to provide notice of the alleged debt to Plaintiff, Plaintiff’s thirty (30) day

 period in which to exercise his rights pursuant to 15 U.S.C.        § 1692g had not even begun
 to toll.

            20.   Thus, Plaintiff’s   §   1692g rights were undeniably in effect throughout the

 events of this Petition,

            21.   DefendanVs negative entry on Plaintiff’s credit report and payment

demands in the March 2013 call overshadowed Plaintiff’s dispute, validation, and

verification rights as provided in 15 U.S.C.             1692g.

            22.   Defendant’s above-described conduct caused Plaintiff to believe that he

could not exercise his dispute rights or that such an exercise would not be honored.

            23.   Plaintiff never agreed to arbitrate any disputes with Defendant.

            24.   Defendant’s conduct has caused Plaintiff to suffer actual damages

including but not limited to anxiety, sleeplessness, and worry.

                            COUNT I: VIOLATIONS OF THE FDCPA

    25. Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

    26. In its attempt to collect the alleged debts from Plaintiff, Defendant has committed

violations of the FDCPA, 15 Usc              §   1692 et. seq., including, but not limited to, the

following:




                                                     4
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         a.       Overshadowing Plaintiff’s dispute, validation, and verification rights. 15

U.&C.    §    1692g; and

         b.       Engaging in conduct the natural consequence of which was to harass,

oppress or abuse Plaintiff in connection wIth the collection of an alleged debt.               15

U.S.C.   §    1692d.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

against Defendant and in favor of Plaintiff for:                                           V




         A.       Judgment that Defendant’s conduct violated the FDCPA;

         B.       Actual damages;

         C.       Statutory damages, costs, and reasonable attorney’s fees pursuant to 15

         U.S.C.   §    1692(k): and

         D.       For such other relief as the Court may deem just and proper.



                                              VOYTAS & COMPANY



                                             RICHA      A. VOYTAS, JR. #52048
                                             NATH N K. BADER, #64707
                                             JENNIFER R. DESCHAMP #58594
                                             VOYTAS & COMPANY
                                             I North Taylor Avenue
                                             St. Louis, Missouri 63108
                                             Phone: (314) 932-1068
                                             Fax:    (314) 667-3161




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